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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                   Judge John L. Kane

Civil Action No. 06-cv-02262-JLK (consolidated with Civil Action No. 07-cv-2063-JLK)

RENEE ATWELL,
VIVIAN BRADLEY,
TERRY LEE, and
YVETTE MARTINEZ HOCHBERG,

              Plaintiffs,

v.

PATRICIA GABOW, in her individual and official capacity as Chief Executive Officer and
Medical Director of Denver Health and Hospital Authority, and

DENVER HEALTH AND HOSPITAL AUTHORITY,

              Defendants.

Civil Action No. 07-cv-2063-JLK

ODIN GOMEZ,
MEKELA RIDGEWAY,
CATHIE GORDON, and
KATIE MOORE,

      Plaintiffs,

v.

PATRICIA GABOW, in her individual capacity and in her official capacity as Chief Executive
Officer and Medical Director of Denver Health and Hospital Authority,

GREG ROSSMAN, in his individual capacity and in his official capacity as Chief Human
Resources Officer of Denver Health and Hospital Authority,

WENDY ALEXANDER, in her individual capacity and in her official capacity as Human
Resources Director of Denver Health and Hospital Authority, and

DENVER HEALTH AND HOSPITAL AUTHORITY,

      Defendants.
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           ORDER ON MOTIONS TO DISMISS AND ORDER TO SHOW CAUSE

Kane, J.

       Six former and two current employees assert federal and state employment discrimination

and related civil rights claims against Denver Health and Hospital Authority (“Denver Health”)

and various Denver Health officials and management level employees. Each claims to have

suffered one or more adverse employment actions – including being passed over for rehiring,

being supervised by less qualified individuals, being moved to less desirable office space or

positions, or being disciplined unfairly – either on the basis of their race or ethnicity or in

retaliation for complaining about discriminatory practices against non-whites. Plaintiffs contend

these actions were the result of a policy of intentional discrimination maintained by Denver

Health and its governing official in the terms and conditions of employment for non-white

employees, rendering both Denver Health and each of the individual Defendants jointly and

severally liable for Plaintiffs’ injuries under 42 U.S.C. §§ 1981 and 1983. The four Atwell

Plaintiffs also assert individual claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000e and state law analogs at Colo. Rev. Stat. §§ 24-34-402 and 25-29-107. Defendants

move to dismiss. I grant the Motions in part and deny them in part.

                    I. BACKGROUND AND PROCEDURAL HISTORY.

       The procedural history of this case was set forth in my February 28, 2008 Order Denying

Motion for Class Certification (Doc. 74), and I will summarize it only briefly here. Plaintiffs

brought their claims in two separate class actions. The first began as an individual action by

Plaintiff Renee Atwell filed in November 2006, but was amended in February 2007 to add



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Plaintiffs Bradley, Lee and Martinez and to assert claims on behalf of “50-250" similarly situated

(non-white) current and former Denver Health employees. The second (Gomez et al. v. Gabow

et al.) was filed in state court during the pendency of Defendants’ Motions to Dismiss the Atwell

action by four members of the Atwell case’s putative class. Defendants removed Gomez to

federal court, where it was originally assigned to Judge Krieger. Judge Krieger reassigned it to

me, and I consolidated Gomez with Atwell for purposes of discovery (Doc. 43) and designated

Atwell as lead. Shortly thereafter, Defendants filed their Motion to Dismiss the Gomez class

action.

          The Motions to Dismiss challenged both the viability of the named Plaintiffs’ individual

claims as well as those claims each purported to bring on behalf of the “50-250" non-white

current and former Denver Health employees whom Plaintiffs posited had suffered similar acts

of discriminatory treatment.1 Concerned the class claims were asserted as an end-run to

weaknesses in the representative Plaintiffs’ claims and because Plaintiffs relied on class action

jargon to obfuscate those weaknesses, I ordered the class certification issue decided first.

Plaintiffs filed a formal Motion for Class Certification (Doc. 58) on January 7, 2008, which I

denied (Doc. 74) on February 28, 2008. The actions are before me now on Defendants’ Motion

to Dismiss First Amended Complaint in 06-cv-2262-JLK (Doc. 17) and Defendants’ Motion to

Dismiss Amended Complaint Filed by Plaintiffs Gomez, Ridgeway, Gordon, and Moore in

Consolidated Case 07-cv-2063 (Doc. 45). Based on my ruling on the class certification issue, I

          1
                Specifically, the Atwell and Gomez Plaintiffs sought to assert claims on behalf of
themselves as well as “all past and present non-white DH employees who have been or continue to
be discriminated against on the basis of their race . . . or ethnic group in the terms and/or conditions
of their employment, including, but not limited to, recruitment, selection, hiring, training, promotion,
retention, assignment of duties, granting of rights and benefits, or any other personnel action.”
Atwell Am. Compl. (Doc. 13) ¶ 24, Gomez Am. Compl. ¶ 26.

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limit my focus on these Motions to the viability of Plaintiffs’ individual claims for relief against

Defendants, and not their claims asserted on behalf of anyone else.

                                        II. DISCUSSION.

       Plaintiffs’ claims fall into two general categories: (1) individual employment

discrimination claims for disparate treatment and retaliation against Denver Health under Title

VII and Colorado state law analogs (asserted by the Atwell Plaintiffs only); and (2) sweeping

civil rights claims against Denver Health as well as various Denver Health officials in their

“individual” and “official” capacities for violating their rights to equal benefit of the laws

secured by 42 U.S.C. § 1981 and for depriving them of their rights secured by 42 U.S.C. §§

1981, 1983 and 1988 in violation of 42 U.S.C. § 1983.

       I review the operative Complaints2 under the standards set forth under Fed. R. Civ. P.

12(b)(6). Plaintiffs’ claims suffer numerous infirmities both structurally as a matter of law and

factually in terms of the sufficiency of the allegations to support them. Particular weaknesses are

reflected in misapprehensions regarding the legal standards for individual (supervisor) and

municipal liability under §§ 1981 and 1983 under Monell v. New York City Dept. of Social

Services, 436 U.S. 658, 690-91 (1978),3 the Atwell Plaintiffs’ failure to comply with


       2
              The operative Complaints are the Amended Complaint (Doc. 13), filed February 16,
2007 in 06-cv-2262-JLK (the “Atwell Complaint”) and the Amended Complaint, first filed in state
court on September 12, 2007, and then removed to federal court on October 3, 2007, in 07-cv-2063
(the “Gomez Complaint”).
       3
                Under Monell, neither Denver Health nor the individual Defendants acting in their
“official” capacities can be held liable for the discriminatory acts of managers/supervisors or other
subordinates independently of § 1983's requirement that these subordinates acted pursuant to an
official policy or custom so entrenched that their actions may be fairly attributable to the entity
itself. 436 U.S. at 691. See also City of St. Louis v. Praprotnik, 485 U.S. 112, 122-23, 127
(1988)(local governmental entities are “persons” against whom liability can be asserted under §
1983, but may be called to task only for their own “policies” or firmly entrenched “customs” or

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jurisdictional prerequisites for their Title VII claims or to recognize the inapplicability of the

Colorado statutory provisions on which their state law claims are premised, and the failure

generally, of Plaintiffs’ factual allegations to support their §§ 1981 and 1983 claims. Despite

having been on notice regarding most, if not all, of these infirmities since I raised them in my

May 2007 Order setting the Atwell Amended Complaint for oral argument (Doc. 22), Plaintiffs’

response has been to augment allegations that were already deficiently vague and conclusory

with additional vague and conclusory allegations and to cite, often with no basis whatever,

perfunctory lines from cases having little or nothing to do with the issues raised.

       The essence of Plaintiffs’ claims remains the assertion that each suffered incidents of

perceived race discrimination at the hands of unnamed managers or supervisors and, because

these incidents were the result of an intentionally discriminatory employee management system

“developed,” “implemented,” or “condoned” by Defendants, that both Denver Health and

Defendants Gabow, Rossman and Alexander should be held jointly and severally liable for those

acts of discrimination. Under the Supreme Court’s recent clarification of Rule 12(b)(6)

standards and the related pleading requirements of Rule 8(b), Plaintiffs’ allegations fall short.

See Bell Atlantic Corp. v. Twombly, _ U.S. _, 127 S.Ct. 1955, 1967-68 (2007)(retiring the long

misused adage that dismissal is appropriate only if the court determines “beyond doubt” that “no

set of facts” exists to support a plaintiff’s claims and holding the onus is on the proponent of a

claim to allege actual facts giving rise to plausible claims for relief, rather than on the court to

assess whether “any set of facts” could support them.)


practices that violate the constitution, not for the unconstitutional acts of their individual
employees). Accordingly, Plaintiffs’ § 1981 claims against Denver Health and any Denver Health
employee “acting in [his or her] official capacity” are analytically indistinct from Plaintiffs’ § 1983
claims and do not constitute separate causes of action.

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                                A. The Amended Complaints.

      Plaintiffs’ individual allegations of discriminatory treatment are as follows:

•     Renee Atwell: African-American psychologist Renee Atwell claims she was

      discriminated and retaliated against on the basis of her race after complaining about

      being moved from an office to a cubicle while she was out for an extended period after

      carpal tunnel surgery and being subjected to supervision and evaluation by an unqualified

      non-professional white woman holding no more than a high-school diploma. Am.

      Compl. (Doc. 13) ¶¶ 39-46. Atwell contends the hostile treatment ratcheted up after she

      returned from spine surgery. Atwell claims she was required to work without an office,

      was threatened with termination for not being physically able to become CPR certified,

      and was subjected to continued supervision by unqualified persons, all of which

      precipitated her filing an EEO complaint. Id. at 47-57. Atwell contends that despite the

      EEO’s recommendation that she be given an office, she never was. Id. at 58. Moreover,

      unfounded complaints about her work began to take hold and Atwell began receiving

      negative evaluations. ¶ 59. Atwell claims she found the lack of an office and the

      continued supervision of her work by unqualified co-workers “intolerable” and resigned

      her position effective December 31, 2005.

•     Vivian Bradley: African-American Registered Nurse Practitioner (RNP) Vivian Bradley

      claims she was discriminated against on the basis of race when a less-qualified white

      woman, an RN, was assigned to supervise her. Am. Compl ¶¶ 69-74. Bradley also

      contends she was threatened with termination after she questioned the adequacy of

      resources allocated to her clinic, which was located in a poor non-white neighborhood.



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      Id. at ¶ 75. Bradley was ultimately fired for abandoning her job after her car broke down

      and she was unable to report to work, and claims her termination was racially motivated

      because no similarly-situated white RNP had been fired for job abandonment under

      similar circumstances. Id. ¶¶ 76-78.

•     Terry Lee: Registered Nurse Terry Lee claims she was discriminated against on the basis

      of race when she was disciplined for breaching patient confidentiality by accessing her

      own child’s medical records while at work. Lee contends no other similarly-situated

      Denver Health employees had been disciplined for reviewing their children’s medical

      records, and contends she was treated “more harshly” and effectively demoted after she

      complained. When Lee applied for a new job opening at Denver Health, a less qualified

      white person was hired. Id. ¶¶ 80-95.

•     Dr. Yvette Martinez Hochberg: Dr. Martinez Hochberg claims she was discriminated

      against both as a Latina and a member of the Jewish faith after she complained about

      unwelcome comments regarding her racial and ethnic background. Hochberg claims she

      was transferred to a different Denver Health clinic she considered a demotion where she

      was “black balled” and subjected to a hostile work environment she found intolerable and

      resigned. Id. ¶¶ 98-109.

•     Odin Gomez: Gomez, a Mexican-American former human resources assistant at Denver

      Health, claims he was retaliated against after informing Defendants that the “Talent Plus”

      selection and retention policy was having an adverse impact on non-white job applicants,

      including being told he could not speak Spanish with co-workers, being disciplined for

      the way he completed paperwork, and ultimately by being terminated and placed on the



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      ineligible for re-hire list for using a co-worker’s device to access the employee parking

      lot. (Gomez Am. Compl. ¶¶ 35-47.)

•     Mekela Ridgeway: Also a former human resource assistant of Mexican-American

      heritage, Ms. Ridgeway claims she complained to Defendant Alexander that she “was

      treating white co-workers more favorably than her, e.g. talking to her in a demeaning and

      rude fashion” and that Alexander retaliated against her complaints of racial

      discrimination by prohibiting her from speaking Spanish to co-workers and telling her

      to“get off the bus” if she did not like Talent Plus. Am. Compl. ¶¶ 54-57. Ridgeway also

      claims she was retaliated against by being moved from her ergonomically adjusted work

      location to a less desirable place without such accommodation. Ridgeway had previously

      been injured by a falling elevator at the workplace and alleges these actions put her in the

      position of having to “quit her job or be fired because she would not be able to perform

      her job duties due to extreme physical pain.” Id. at ¶¶ 58-59. Ridgeway ultimately

      resigned, claiming her resignation was actually a constructive discharge. Id. ¶ 60.)

•     Cathie Gordon: African-American Denver Health nursing administrator Cathie Gordon

      alleges she was paid less than white co-workers and that, while on medical leave, Denver

      Health “manipulated” her personnel records to show her working fewer hours than

      required to receive benefits. (Id. ¶¶ 64-69.)

•     Katie Moore: African-American former programs manager Katie Moore left Denver

      Health in 2001 and alleges she was subjected to “Talent Plus” when she applied for

      rehire and was rejected on the basis of her race. (Id. ¶¶ 71-80).

      To support their assertion that Denver Health (and individually-named Defendants acting



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in their “official capacities”) should be held liable for these incidents under Monell and

Praprotnik, Plaintiffs collectively allege the following:

•      Denver Health Executive Patricia Gabow has “adopted and implemented” on behalf of

       Denver Health a personnel management system wherein managers and supervisors are

       “train[ed] and encourage[d] to ignore objective performance criteria and to look for the

       ‘right person in the right seat on the bus’ and to ‘put off the bus’ those persons subjective

       criteria suggest are not compatible” (Atwell Am Compl., ¶ 11; Gomez Am. Compl. ¶ 12);

•      Gabow has stated “she believes in the philosophy that ‘it’s not about training, it’s about

       DNA’” (Atwell Compl. at ¶ 11);

•      Gabow “developed and implemented official personnel policies and practices that

       resulted in systematic discrimination against non-white employees on the basis of their

       race, color and/or ethnic group, and/or in retaliation for complaining about illegal

       discrimination” (Id. ¶ 127);

•      Gabow, Rossman and Alexander “were aware of” and “approved, condoned, and/or

       ratified the illegal discriminatory conduct of DH managers/supervisors and/or purposely

       ignored their illegal discriminatory conduct” and their “failure to act caused Plaintiffs to

       suffer harm”(Atwell Compl. ¶ 127-29; Gomez Compl. ¶ 13);

•      the “abridgments [sic] of employment opportunities” Plaintiffs’ suffered “are part of a

       general policy or practice of illegal employment discrimination on the basis of race that

       has existed at DH throughout the relevant time.” (Gomez Compl. ¶ 81);

•      Denver Health “has pursued policies or practices on a continuing basis that have denied

       or restricted job opportunities to qualified non-white job applicants and employees” (Id.



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        at ¶ 82); and

 •      At least one “fully qualified non-white highly skilled professional health care provider”

        was terminated using the “right person . . . right seat” approach. (Atwell Compl. ¶ 11.)



        For their relief, Plaintiffs seek to hold Defendants liable, “jointly and severally,” for all

 damages resulting from their discriminatory actions, specifically including “damage to [their

 individual] reputation[s], anxiety, personal indignity, humiliation, embarrassment, emotional

 distress, and lost wages and benefits.” See Atwell Compl. ¶¶ 67 (Atwell), 79 (Bradley), 97 (Lee),

 109 (Hochberg); Gomez Compl. ¶¶ 47 (Gomez), 62 (Ridgeway), 69 (Gordon), and 80 (Moore).

 Plaintiffs seek pre- and post-judgment interest on those monetary damages, as well as “punitive”

 and “liquidated” damages, and “other statutory penalties.” See id.

                                B. Applicable Standard - Twombly.

        Plaintiffs invoke the standard articulated in Conley v. Gibson, 355 U.S. 41 (1957), to

 argue the dismissal of their claims under Rule 12(b)(6) is inappropriate unless it appears “beyond

 doubt that [they] are unable to prove any set of facts that would entitle them to relief.” See e.g.,

 Pls.’ Request to Supplement Response to Defs’ Mot. Dismiss (Doc. 21) at 3. Even under this

 narrow view of the Rule 12(b)(6) standard, Plaintiffs’ allegations largely fail to state viable

 causes of action – particularly for individual (supervisor) and municipal liability under 42 U.S.C.

 §§ 1981 and 1983. Under Twombly, however, their failings are even more conspicuous.

        In Twombly, the Supreme Court engaged in a lengthy discussion of Conley v. Gibson and

 expressly rejected the “no set of facts” standard urged by Plaintiffs here. See Twombly, 127 S.

 Ct. at 1968-69. On a “focused and literal reading” of that standard, the Court reasoned, “a



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 wholly conclusory statement of claim should survive a motion to dismiss whenever the pleadings

 left open the possibility that a plaintiff might later establish some ‘set of [undisclosed] facts’ to

 support recovery.” Id. at 1968 (emphasis mine). Explaining that this was not the Court’s

 holding in Conley and bemoaning the misapplication of the standard since its inception, Justice

 Souter concluded that now, “[after] 50 years, this famous observation has earned its retirement.”

 Id. at 1969. What is required of a well-plead complaint are actual, existing facts, not promises of

 future facts or recitations of elements or legal conclusions parading as fact, from which a

 plausible, not theoretically possible, claim for relief may be inferred. See id.

         Of course, the standard remains a liberal one: All allegations in a complaint are

 presumed true for purposes of Rule 12(b)(6), and a well-pleaded complaint may proceed even if

 it appears that recovery is remote and unlikely. Twombly at 1965 (citing Scheuer v. Rhodes, 416

 U.S. 232, 236 (1974)). The touchstone, however, is the well-pleaded complaint.

         “A plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires

 more than labels and conclusions,” and a “formulaic recitation of the elements of a cause of

 action with not do.” Id. (on a motion to dismiss, courts “‘are not bound to accept as true a legal

 conclusion couched as a factual allegation’”)(quoting Papasan v. Allain, 478 U.S. 265, 286

 (1986)). Actual factual allegations, moreover, must be enough to raise a right to relief “above

 the speculative level.” Id. (citing 5 C. Wright & A. Miller, Federal Practice & Procedure § 1216

 (3d ed. 2004)). The minimum requirements for pleading viable claims under Rule 8(a)(2), then,

 are the assertion of actual facts unique to the pleader (rather that the parroting of general

 standards or statutory elements of a claim) which allow for a plausible (rather than theoretically

 possible) claim for relief.



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        Applying this standard here, I must review the Amended Complaints with an eye to the

 actual facts plead and look to see whether those facts “plausibly support a legal claim for relief.”

 Alvarado v. KOB-TV, LLC, 493 F.3d 1210, 1215 (10th Cir. 2007)(citing Twombly at 1965)). The

 onus is on Plaintiffs to allege such facts and not on the court to divine them. See id.

                             C. Municipal liability - § 1981 and § 1983.

        While Plaintiffs simply assert that Denver Health on the one hand, and Gabow, Rossman

 and Alexander in their “individual” and “official” capacities on the other, are collectively liable

 to them for their injuries under 42 U.S.C. § 1981 and § 1983, there are two fundamental points to

 be made about these claims. First, claims against Gabow, Rossman and Alexander in their

 “official capacities” are claims against Denver Health and need not be separately stated;4 and (2)

 governmental entities such as Denver Health can be held liable only for their official policies,

 practices and customs that violate the law, such that claims for discriminatory treatment under §

 1981 must be brought under § 1983.5 Accordingly, Plaintiffs’ § 1981 and § 1983 claims against

 Denver Health and Gabow, Rossman and Alexander in their “official capacities” actually reduce

 to individual claims under § 1983 based on the existence of an official policy, custom or practice



        4
               Drake v. City and County of Denver, 953 F. Supp. 1150 (D. Colo.1997)(a suit against
 a governmental entity employee in his “official capacity” is the same as a suit against the entity, and
 the naming of both as defendants is in a lawsuit under § 1983 is redundant).
        5
                  As stated above, local governmental entities are “persons” answerable for
 discrimination or other constitutional or civil rights injuries under §§ 1981 and 1983, but may be
 called to task only for their own “policies” or firmly entrenched “customs” or practices that violate
 the constitution, not for the unconstitutional acts of their individual employees. See Monell v. New
 York City Dept. of Social Services, 436 U.S. 658, 690-91 (1978) and City of St. Louis v. Praprotnik,
 485 U.S. 112, 122-23, 127 (1988). Accordingly, § 1981 claims against an entity (or employees or
 officers of the entity acting in their “official capacities”) may only be brought under § 1983. Bolden
 v. City of Topeka, 441 F.3d 1129, 1135-37 (10th Cir. 2006).


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 of discrimination at Denver Health pursuant to which each was injured.6

        From the inception of this litigation, I have admonished counsel regarding the import of

 Monell and its progeny for Plaintiffs’ municipal liability claims and have explicitly ordered them

 to identify “specific factual allegations supporting the conclusory allegations in the First

 Amended Complaint that Denver Health and/or Defendant Gabow acting in her official capacity

 made a policy decision, or engaged in a custom or practice of discrimination, for purposes of

 municipal liability.” Order Setting Oral Arg. on Mot. Dismiss (Doc. 22)(emphasis original). I

 revisited the issue again in my Order Denying Class Certification (Doc. 74), when I found

 Plaintiffs’ allegations insufficient to create an inference of disparate impact necessary to the

 premise that Denver Health’s facially neutral “Talent Plus” or “right person on the bus”

 employment policies and practices were, in fact, discriminatory as applied. See Order at 9-13

 (rejecting on that basis Plaintiffs’ claims that their individual claims of discriminatory treatment

 were “typical” of those of the putative class). Despite all warnings, Plaintiffs persist in asserting,

 without additional factual basis, that “Talent Plus” and “right person on the bus” are

 intentionally discriminatory employee evaluation systems that rise to the level of official policy,

 practice or custom of Denver Health for purposes of municipal liability under Monell.

        Instead, Plaintiffs seize on language from an unpublished decision to argue all that is

 required to state a municipal liability claim against Denver Health under Monell is the assertion

 that Denver Health officials acted “under color of law” to deprive them of their rights. See e.g.

 Resp. to Defs’ Mot Dismiss [Gomez] Am. Compl. (Doc. 47) at 5; Suppl. Br. of Plaintiffs (Doc.

 23) at p. 12 (citing Villalpando v. Denver Health & Hosp. Auth., 2003 WL 1870993, at *4 (10th


        6
                Plaintiffs’ § 1981 and § 1983 claims against Defendants’ Gabow, Rossman and
 Alexander in their “individual” capacities will be discussed in the following section.

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 Cir. 2003)). Villalpando stands for no such proposition. Villalpando was a medical malpractice

 action brought by the spouse of a deceased individual who had been treated at Denver Health.

 While the Court generally observed that Denver Health was “person” capable of suing or being

 sued under § 1983, it did not reach the issue of municipal liability because the doctors’ actions in

 providing “negligent, willfully indifferent or even reckless medical treatment” did not rise to the

 level of a constitutional deprivation. 2003 WL 1870993, *3 (while Denver Health is a “person”

 subject to liability for acts taken “under color of law” for purposes of § 1983, it could not be held

 liable under Monell for an unconstitutional policy, practice or custom for acts that were not

 themselves unconstitutional).

        Alternatively, Plaintiffs quote selectively from various Supreme Court and related circuit

 court cases establishing the parameters of what constitutes an “official policy,” “practice” or

 “custom” and then allege those actions have taken place. For example, Plaintiffs cite City of

 Canton v. Harris, 489 U.S. 378, 388 (1989) for the proposition that “failure to train or

 inadequacy of training may serve as a basis for 1983 liability where it amounts to deliberate

 indifference to the rights of persons” and Languirand v. Hayden, 717 F.2d 220, 227-28 (5th Cir.

 1983) for the proposition that “notice [of discrimination] and a failure to take remedial steps”

 gives rise to municipal liability under § 1983 (Doc. 23 at 17.) They then allege “defendants were

 aware some employees were complaining about discrimination [citations omitted], and failed to

 train [citations omitted], and failed to take remedial steps.” Id. Even taking Plaintiffs’ simplistic

 (and in the case of Languirand, erroneous) statements of the law at face value, their allegations

 premised on them fail under Twombly to rise above formulaic recitations of the same. Plaintiffs

 repeatedly trot out legal conclusions – Gabow is an “official policy maker” and “implemented a



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 policy of discrimination” – and parade them as factual allegations supporting the existence of a

 claim for municipal liability.

        The only factual allegations supporting the existence of an official policy, practice or

 custom of discrimination are those forming the basis for Plaintiffs’ adverse impact allegations

 that Denver Health’s facially neutral “Talent Plus” and “right person on the right bus”

 employment policies are applied in a manner that favors white employees and harms non-whites.

 The problem with this theory of municipal liability is multi-fold: (1) with perhaps one

 exception, Plaintiffs’ individual claims are not premised on any application of “Talent Plus” or

 any other neutral employment policy in a discriminatory fashion; and (2) the facts alleged do not,

 as I concluded in my Order Denying Class Certification, state a viable claim for adverse impact

 in any event. If Plaintiffs do not claim to have been injured by a discriminatory application of

 “Talent Plus,” and if there would be no actionable claim for such discrimination on the facts

 alleged in any event, then the question of whether Denver Health should be held liable for

 having an “official policy, custom or practice” of such discrimination is immaterial.

        The Amended Complaints in both the Atwell and Gomez actions assert highly varied fact

 situations for each of the eight named Plaintiffs. Only Katie Moore claims to have been

 subjected to evaluation on her application for rehire under “Talent Plus,” and Moore simply

 contends “Talent Plus” is a racially discriminatory selection process because it is “wholly

 subjective and not related to objective job-related performance criteria.” Am. Compl. ¶ 76.

 Moore does not allege, nor do any other well-pleaded facts in the Complaint suggest, that

 managers or human resources personnel applied “Talent Plus” in a “‘significantly’

 discriminatory pattern” to deny non-white applicants such as herself rehire positions at Denver



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 Health, as would be necessary to state a claim for adverse impact under Title VII. See Order

 (Doc. 74), at 12, n.5 (citing Thomas v. Metroflight, Inc., 814 F.2d 1506, 1509 (10th Cir. 1987).

 Even then, the conclusory assertion that “Talent Plus” constitutes the “official policy, practice or

 custom” of Denver Health would not suffice under Twombly to establish the necessary factual

 prerequisite decision for municipal liability.

        Plaintiffs do not identify a custom, policy or practice applicable to all of them that would

 render Denver Health liable under Monell for the discrimination each claims to have suffered,

 and none pleads actual facts giving rise to a plausible inference that such a policy, custom or

 practice existed. Simply aggregating eight individual claims and calling them the result of a

 “custom or policy of discrimination” is insufficient, as are all of the other conclusory recitations

 of Canton or similar legal standards as “facts” supporting municipal liability. Plaintiffs’ 42

 U.S.C. §§ 1981 and 1983 claims against Denver Health or Gabow, Rossman and Alexander in

 their “official capacities” are therefore DISMISSED.

            D. Individual Liability Claims under §§ 1981, 1983 – Defendants Gabow,
                                     Rossman and Alexander.

        With the exception of Plaintiff Ridgeway, who alleges Defendant Alexander retaliated

 against her after she complained Alexander had spoken to her in a “demeaning and rude”

 fashion, none of the Plaintiffs alleges any personal involvement on the part of Defendants

 Gabow, Rossman or Alexander in the discriminatory treatment each claims to have suffered at

 the hands of unnamed supervisors or managers. Instead, these seven Plaintiffs rely on

 Defendants’ supervisory or policy-making status to assert they “adopted” or “implemented” the

 discriminatory application of “Talent Plus” or were “aware of” and “took no steps to remedy”

 the discriminatory application of “Talent Plus.” The law in this regard is clear, however:


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 Supervisor status by itself will not support liability for government officials acting in their

 individual capacities under § 1981 or 1983. Rizzo v. Good, 423 U.S. 362, 376 (1976)(applied in

 Mitchell v. Maynard, 80 F.3d 1433, 1441 (10th Cir. 1996)). Personal participation is an essential

 element of any individual liability claim under §§ 1981 or 1983 against a government official.

 Mitchell at 1441 (citing Bennett v. Passic, 545 F.2d 1260, 1262-63 (10th Cir. 1976)).

         In response, Plaintiffs’ either allege one or other Defendant “directly participated” in

 illegal discriminatory conduct by applying “Talent Plus” (see Am. Compl. (Gomez) ¶ 102 (Def.

 Rossman) or “personally violated § 1981 when they took, or approved of others taking,

 materially adverse employment actions against Plaintiffs on the basis of Plaintiffs’ race.” Resp.

 Mot. Dismiss (Doc. 47) at 10. These again are legal conclusions parading as “facts” and as such

 have no place in a Rule 12(b)(6) analysis under Twombly. Plaintiffs also seem to suggest

 Gabow’s status as CEO and “medical director of Denver Health” renders her actions in “the

 development and implementation of personnel policies and practices, and the selection and

 supervision of persons assigned to implement her personnel policies and practices” evidence of

 personal participation for purposes of individual liability under § 1983 or 1981. See id. These

 allegations are indicative of “official capacity” status, if anything, and have no place in the

 establishment of a basis for holding Gabow personally liable to any one or more of the Plaintiffs

 based on conduct affirmatively connected to them.

        Absent allegations that a Defendant had personal contact with a Plaintiff or was made

 personally aware of discrimination a particular Plaintiff was suffering, there is not even the

 foundation of a claim for supervisor liability under Mitchell or related authority. See Benglen v.

 Zavaras, 7 F. Supp. 2d 1171, 1173-74 (D. Colo. 1998)(there must be an “affirmative link”



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 between the violation and the superior’s own actions approving or authorizing the violation to

 state a claim for supervisor liability under § 1983). The lack of an “affirmative link” between

 the alleged violations suffered by Plaintiffs Atwell, Bradley, Lee, Martinez Hochberg, Gomez,

 Gordon, or Moore and any actions of Defendants is sufficient ground by itself for dismissing

 those claims under Rule 12(b)(6).

         The sole remaining claim under § 1981 or 1983 is Plaintiff Ridgeway’s claim against

 Defendant Alexander for retaliation. That claim, in turn, suffers from the legal defect identified

 in Drake v. City of Fort Collins, 927 F.2d 1156 (10th Cir. 1991) and Notari v. Denver Water

 Dep’t, 971 F.2d 585 (10th Cir. 1992), namely, that employment discrimination claims brought

 under § 1981 or § 1983 must have a basis “independent of and not created by Title VII.” See

 Heno v. Spring/United Management Co., 208 F.3d 847, 861 (10th Cir. 2000)(Seymour,

 concurring)(discussing Drake and Notari). Because Title VII is the sole federal law source of

 protection from being retaliated against for complaining about racial discrimination, Ridgeway’s

 retaliation claim is actionable only under Title VII and not separately under § 1981. Compare

 Drake at 1162 (§ 1981 or 1983 claim had separate legal basis (equal protection) not created by

 Title VII and could therefore be maintained). Plaintiffs urge me not to rule on this issue until

 the United States Supreme Court rules on an appeal of the Seventh Circuit’s decision in

 Humphries v. CBOCS West, Inc., 474 F.3d 387 (7th Cir. 2007)(abrogating cases and holding

 claims for retaliation stemming from discriminatory acts against individual are cognizable under

 § 1981), cert. granted 128 S. Ct. 30, 2007 WL 1243236 (Sept. 25, 2007). I decline to wait.

 Drake and Notari remain the law in this circuit and Ridgeway’s retaliation claim is actionable, if

 at all, only under Title VII.



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         Based on the foregoing, Plaintiffs’ individual liability claims against Defendants Gabow,

 Rossman and Alexander under 42 U.S.C. §§ 1981 or 1983 are DISMISSED and I do not reach

 their individual defenses of qualified immunity. I note, however, that Plaintiffs’ responses to

 Defendants’ arguments regarding qualified immunity at pp. 10-11 of their Response to

 Defendants’ Motion to Dismiss the Gomez Complaint (Doc. 47) and p. 4 of their Response to

 Defendants’ Motion to Dismiss the Atwell Complaint (Doc. 19) are inapposite and largely

 unintelligible.

         My rulings on the municipal and individual liability claims of Plaintiffs under 42 U.S.C.

 §§ 1981 and 1983 effectively dispose of the Gomez Plaintiffs’ claims in their entirety. All that

 remains, then, are the Title VII and state law claims of Plaintiffs Atwell, Bradley, Lee, and

 Martinez Hochberg in 06-cv-2262.

                             E. Plaintiffs’ Title VII and CADA7 Claims
                                       against Denver Health.

         Title VII makes it unlawful for an employer to

         fail or refuse to hire or to discharge any individual, or otherwise to discriminate
         against any individual with respect to his compensation, terms, conditions, or
         privileges of employment, because of such individual’s race, color, religion, sex,
         or national origin.

 42 U.S.C. § 2000e-2(a)(1). Each of the individual Atwell Plaintiffs claims she was discriminated

 against on the basis of race or national origin.

                   1. The Title VII and CADA claims of Bradley, Lee and Hochberg.

         A plaintiff may not bring a Title VII action based upon claims that were not part of a



         7
                 The Colorado Anti-Discrimination Act (CADA), Colo. Rev. Stat. § 24-34-402 is a
 state analog to various federal employment discrimination laws prohibiting discriminatory or unfair
 employment practices including race discrimination.

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 timely-filed EEOC charge for which plaintiff has received a right-to-sue letter. Simms v.

 Oklahoma ex rel. Dept. of Mental Health and Substance Abuse Servs., 165 F.3d 1321, 1326 (10th

 Cir. 1999). A timely EEOC charge and right-to-sue letter is also a necessary prerequisite to

 filing suit under CADA. Colo. Rev. Stat. § 24-34-403. The requirement is not simply a

 bureaucratic exercise. The purpose of an EEOC charge is not only to provide the employer with

 notice of the claims against it, but to provide the EEOC with an opportunity to investigate and

 conciliate the claim before litigation ensues. See Seymore v. Shawyer & Sons, Inc., 111 F.3d

 794, 799 (10th Cir. 1997). Plaintiffs concede in this case that only Atwell had filed the required

 charge and received her right-to-sue letter at the time this action was filed, but urged me to

 “postpone” ruling on the issue because Plaintiffs Bradley, Lee and Hochberg had “timely” filed

 their charges and were simply awaiting letters of their own.8

        In the alternative, Bradley, Lee and Martinez Hochberg ask to be allowed to “piggyback”

 on Atwell’s right-to-sue letter, referring to the exception in multi-plaintiff cases to the

 jurisdictional prerequisite of filing individual charges where the non-filers are similarly situated

 and the original EEOC notice gives the employer notice of the collective nature of the charge.

 See Thiessen v. General Electric, 267 F.3d 1095, 1111 (10th Cir. 2001). The single filing

 (“piggybacking”) doctrine is inapplicable here, where Plaintiffs’ claims are highly individualized

 and where Atwell’s charge of discrimination – in which Atwell describes being harrassed, losing

 her office while out on medical leave and being subjected to unwelcome supervision by a nurse


        8
                  This assertion was apparently less than forthcoming. A review of notes submitted by
 counsel to support their compliance with the investigatory requirements of Rule 11 suggests counsel
 knew Martinez Hochberg had yet to file even an initial charge with the EEOC when she was added
 as a Plaintiff in the Amended Complaint. See Intake Questionnaire (Doc. 26-25). To date, no other
 right-to-sue letters have been filed or otherwise submitted on behalf of Bradley, Lee or Martinez
 Hochberg.

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 – cannot be said to have provided Denver Health with notice of any claims beyond Atwell’s.

 The Title VII and CADA claims of Bradley, Lee and Hochberg are DISMISSED for failure to

 exhaust administrative remedies.

                              2. Atwell’s Title VII and CADA Claims.

                                      Discriminatory Treatment.

        While Atwell’s allegations of discriminatory treatment and retaliation have only the most

 tenuous nexus to her race (the majority of Atwell’s allegations tend to link adverse employment

 actions to her surgeries and resulting physical limitations – as in her inability to endure CPR

 training – not any race-based animus) out of an abundance of caution, and because I think Ms.

 Atwell has not been well-served by her counsel in their attempt to leverage her original claim

 into an unsupportable class action, I will allow her Title VII and CADA claims to proceed.

 Defendants arguments regarding the insufficiency of Atwell’s constructive discharge allegations

 are not without merit, but I disagree her allegations are insufficient to establish at least some

 adverse employment action on the basis of race. Atwell is a member of a protected class who

 alleges a series of downturns, negative reviews, and mistreatment at Denver Health which, taken

 as true, may permit an inference of discriminatory treatment. While I am inclined to agree that

 Atwell’s facts, as alleged, do not give rise to a plausible constructive discharge claim, I stop

 short of so ruling at this time. Atwell is advised to consider carefully the relative costs and

 benefits of proceeding with this claim, however, as an inability ultimately to prove constructive

 discharge will affect the value of her claim.

        Defendants’ Motion to Dismiss Atwell’s Title VII and CADA claims for discriminatory

 treatment is DENIED.



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                                             Retaliation.

        Defendants urge me to dismiss Atwell’s Title VII retaliation claim on grounds her

 administrative EEOC Charge fails to mention retaliation. While technically correct, I find the

 statements made in the Charge (Doc. 17-3) sufficient to put Defendants on notice of the claim

 and deny the request.

                               F. The Remaining State Law Claim.

        In my May 9, 2007 Order setting oral argument on Defendants’ Motion to Dismiss the

 Atwell Amended Complaint and ordering Plaintiffs’ to show cause for several of their

 exaggerated or patently improper assertions, I also directed Plaintiffs’ counsel to provide

 authority for Plaintiffs assertion of a private cause of action under Colo. Rev. State. § 25-29-107,

 part of the statute establishing and governing the administration of the Denver Health and

 Hospital Authority. In their midnight brief filed on the eve of oral argument (Doc. 23), Plaintiffs

 stated they were not asserting a claim under § 25-29-107 “against Dr. Gabow” (Doc. 23, p. 20),

 suggesting they were asserting such a claim against Denver Health. The brief then states

 “Because Dr. Atwell was a city employee, we believed it reasonable to reference this statute.

 The reference was not intended to be read as a claim separate and distinct from claims pursuant

 to C.R.S. § 24-34-402 [CADA].” Id.

        Compounding the confusion, Plaintiffs allege in paragraphs 2, 7, and 151 of their

 Amended Complaint that Defendants “illegally discriminated against them in violation of § 25-

 29-107.” Defendants’ notified Plaintiffs in their original Motion to Dismiss of their view that §

 25-29-107 provided no private cause of action against any of the Defendants in this case, and I

 ordered Plaintiffs in my May 9 Order to state why that claim (among others) was viable or



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 consider withdrawing it in the face of Rule 11 sanctions. Plaintiffs ignored the admonition and

 on the eve of oral argument, submitted a brief “explaining” why they “thought” it was reasonable

 to include it. To this date, Plaintiffs have never withdrawn the claim.

                                III. RULING AND SANCTIONS.

        On the issue of sanctions, I have given Plaintiffs’ counsel several opportunities to tailor

 their claims, buttress them with actual factual allegations and, most importantly, to explain their

 actions in the wake of Defendants’ Motion to Dismiss Patricia Atwell’s original, individual

 Complaint to turn Ms. Atwell’s Title VII action into a large-scale civil rights class action seeking

 awards of compensatory and punitive damages, attorney fees and interest on behalf of “50-250"

 individuals. In my May 9 Order (Doc. 22) I specifically ordered counsel to “certify, under Fed.

 R. Civ. P. Rule 11, the precise nature of the investigation and legal research conducted in

 transforming Ms. Atwell’s original employment discrimination Complaint in this case into a

 class action on behalf of between “50" and “200" non-white employees of Denver Health –

 based on a representation that Ms. Atwell (the only African-American psychologist at Denver

 Health during the relevant time period) wished to “clarify” certain aspects of her Complaint in

 “response” to Defendants’ original Motion to Dismiss her claims.” Order at 2. Lead counsel

 Anne Sulton produced no certification in response to this admonition. Co-counsel Gregory Hall

 produced several pages of entries he represented he typed from handwritten notes documenting

 meetings with Bradley, Lee and Hochberg, as well as two or three unnamed other past or present

 Denver Health employees leading up to the filing of the Amended Complaint. (Doc. 27.) The

 authenticity of these notes was neither verified nor certified, and no affidavit swearing to their

 veracity was included. When I ordered the original notes be produced, counsel took the issue up



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 to the Tenth Circuit on mandamus.

        After the Tenth Circuit ordered all but those notes of meetings with nonparties who

 declined their disclosure to be produced, Hall produced notes, time sheets and telephone logs,

 under seal, supposedly corroborating the notes in Doc. 27 and providing additional

 documentation of his Rule 11 efforts with respect to amending of Atwell’s Complaint.

        The “timesheets” produced under seal are identical in format to the entries in Doc. 27.

 They are individual type-written entries, one per page, on blank sheets of paper and are not

 actual time sheets or billing statements. In any event, they confirm a series of three meetings

 wherein the subject of a “class action” was “discussed,” and then a series of entries from the run-

 up to the February 13, 2007 Amended Complaint filing date documenting “legal research” on

 class actions. These entries consist either of string cites to case law (February 9) or general

 references to “research” involving the Manual on Complex Litigation and Newberg on Class

 Actions (February 10 & 11), and efforts on February 12 and 13 to “evaluate” the Amended

 Complaint “to ensure we have met our pleading burdens under Rules 8, 12 & 23" and “[m]ake

 sure that each legal claims [sic] is supported by the facts alleged.” See Affid. of Attorney

 Gregory A. Hall, Ex. 3 (filed under seal on Dec. 6, 2007). Nothing more is revealed.

        Lead Counsel Anne Sulton again filed nothing certifying what efforts she undertook

 before filing the Amended Complaint.

        In considering the imposition of sanctions under Rule 11, I am mindful of the legal

 standards to be applied and the procedural safeguards to which counsel are entitled before such

 sanctions are imposed under White v. General Motors Corp., Inc., 908 F.2d 675 (10th Cir. 1990).

 The standard is one of objective reasonableness, and counsel must be given notice of the specific



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 conduct that is subject to sanctions.

        In my May 9, 2007 Order setting Defendants’ Motion to Dismiss for oral argument (Doc.

 22), I put Plaintiffs’ counsel on notice of my Rule 11 concerns regarding virtually all of their

 class claims and contentions, specifically including their decision to convert Dr. Atwell’s

 original Complaint into a class action. See Order at 2. At the end of my Order, I provided the

 following notice:

                Counsel for Plaintiffs should consider this Order part of their notice under
        Fed. R. Civ. P. 11(c)(1)(A)’s “safe harbor” provision and give thought to
        withdrawing some or all of their offending claims or contentions. If, after oral
        argument, I am persuaded that one or more of Plaintiffs’ claims were frivolous or
        groundless when filed, or that counsel otherwise failed to comply with the
        principles and purposes of Rule 11 either in signing the original Complaint on
        behalf of Ms. Atwell or in ratcheting up the ante by converting Ms. Atwell’s
        claims into a class action in “response” to Defendants’ original Motion to
        Dismiss, I may issue a comprehensive order to show cause under Rule
        11(c)(1)(A), see Hutchingson v. Pfeil, 208 F.3d 1180, 1184 (10th Cir. 2000),
        and/or impose sanctions under 28 U.S.C. § 1927 without further notice.

 Order (Doc. 22) at pp. 4-5. None of the documents or records submitted purports to certify any

 efforts made with regard to Plaintiffs’ 42 U.S.C. §§ 1981 or 1983 claims, the state claims, or the

 effect of their clients’ failure to secure EEOC right-to-sue letters before filing Title VII and

 CADA claims on their behalf. There are therefore multiple grounds on which to sanction

 Plaintiffs’ counsel under the notice given. The most egregious of these, in my view however, is

 counsel’s actions in effectively holding Ms. Atwell’s claims hostage to a hasty plan to up the

 ante against Denver Health by turning her individual action into a large-scale civil rights class

 action. I find the actions of counsel in this regard untenable, unreasonable and unsupported by

 the evidence submitted that they engaged in a good faith investigation of the facts supporting

 such an amendment or performed even the modicum of legal research into its viability.



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        In accordance with Fed. R. Civ. P. Rule 11(c)(1)(B), counsel Anne Sulton and Greg Hall

 are ORDERED TO SHOW CAUSE, in writing, why they should not be sanctioned for violating

 the terms of Rule 11(b) in the preparation and filing of the Amended Complaint in Civil Action

 No. 06-cv-2262-JLK on February 13, 2007.. If, after Plaintiffs’ return, it is determined that any

 provision of subdivision (b) has been violated, I will consider the imposition of sanctions up to

 and including the assessment against counsel of Defendants’ attorney fees incurred defending

 against the class action claims of Plaintiffs Atwell, Bradley, Lee and Martinez Hochberg.

 Plaintiffs’ return on this Order to Show Cause shall be due one or before April 16, 2008.



        Defendants’ Motion to Dismiss First Amended Complaint in 06-cv-2262-JLK (Atwell)

 (Doc. 17) is DENIED as to Plaintiff Renee Atwell’s Title VII and CADA claims against

 Defendant Denver Health only and is GRANTED in all other respects. Defendants’ Motion to

 Dismiss Amended Complaint Filed by Plaintiffs Gomez, Ridgeway, Gordon, and Moore in

 Consolidated Case 07-cv-2063 (Doc. 45) is GRANTED in its entirety.

                                                      BY THE COURT:


 Dated March 31, 2008.                                s/John L. Kane
                                                      SENIOR U.S. DISTRICT JUDGE




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